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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CHIMIKA WALKER, AS PARENT AND )
NEXT OF FRIEND OF Z.R., A MINOR )
                                           )
               Plaintiffs,                 )            Case No. 1:19-cv-4115
                                           )
        v.                                 )            The Honorable Joan Humphrey Lefkow
                                           )
Board of Education of the City of Chicago, )            Magistrate Judge Sheila Finnegan
Legal Prep Charter Academics and Jamel M. )
Helaire-Jones                              )
               Defendants.                 )
                                           )
Board of Education of the City of Chicago, )
                                           )
               Cross-Claimant,             )
                                           )
        v.                                 )
                                           )
Legal Charter Prep.                        )
                                           )
               Cross-Defendant.            )

       DEFENDANT BOARD OF EDUCATION OF THE CITY OF CHICAGO’S
          CROSSCLAIM AGAINST LEGAL PREP CHARTER ACADEMICS

       NOW COMES Defendant, Board of Education of the City of Chicago (“Board”), through

its attorney, Joseph Moriarty, General Counsel for the Board of Education, and pursuant to Federal

Rule of Civil Procedure 13 (“Rule”), files these crossclaims against Defendant, Legal Prep Charter

Academics. In support thereof, the Board states the following:

                                              Parties

   1. At all relevant times, Defendant Helaire-Jones was an employee of Legal Prep Charter

       Academics (“Legal Prep”) and worked as a basketball coach at Legal Prep in the City of

       Chicago, County of Cook, State of Illinois.

   2. At all relevant times, Defendant Helaire-Jones was not an employee of the Board’s.

   3. Defendant Legal Prep is a not-for-profit corporation under the laws of the State of Illinois.
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4. Defendant Board is responsible for the governance, organizational, and financial oversight

   of Chicago Public Schools, which is School District 299 in City of Chicago, Cook County,

   State of Illinois.

                                   Jurisdiction & Venue

5. This Complaint consists of two cross-claims to a case brought under Title IX of the

   Education Amendments of 1972, 20 U.S.C. § 1681.

6. This Court has jurisdiction under 28 U.S.C. §1367. Venue is proper under 28 U.S.C.

   §1391(b).

                        COUNT I—LEGAL PREP – Indemnification

7. Count I incorporates the foregoing paragraphs as if fully restated herein.

8. On July 1, 2017, the Board, for a valuable consideration entered into a Contract with Cross

   Defendant, Legal Prep Charter Academics (“Legal Prep”), which was in effect at all relevant

   times. [Contract attached as Exhibit A].

9. The Contract requires Legal Prep to “indemnify, defend and hold harmless the Board, its

   members, officers, employees, agents, affiliates and representatives, past and present,

   (collectively, the “Board Indemnitees”), from and against any and all liabilities, losses,

   penalties, damages and expenses, including costs and attorney fees, arising out of all claims,

   liens, demands, suits, liabilities, injuries (personal or bodily), of every kind, nature and

   character arising or resulting from or occasioned by or in connections with (i) the

   possession, occupancy or use of the property of the Charter School by its faculty, students,

   patrons, employees, guests or agents, (ii) any negligent, willful or wrongful act or omission to

   act by the Charter School, its faculty, students, patrons, employees, guests or agents, (iii) a

   violation of any law, statute, code, ordinance or regulation by the Charter School, its faculty,

   students, patrons, employees, subcontractors, guests or agents, and/or (iv) any breach,


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       default, violation or nonperformance by the Charter School of any term, covenant,

       condition, duty or obligation provided in this Agreement including, but not limited to, the

       Accountability Plan.” [Ex. A, p. 33 of 65, § 14].

   10. At all relevant times, Helaire-Jones was the duly authorized agent and employee of Legal

       Prep and not the Board’s.

   11. On June 20, 2019, Plaintiff, C.W., as parent and next of fried of Z.R., filed this lawsuit

       against the Board and Legal Prep. It is alleged between August 2017 and November 2018,

       Defendant Helaire-Jones sexually abused student Z.R., and that the conduct occurred on the

       property of Legal Prep. The Plaintiff further alleges that Cross-Defendant, Legal Prep, failed

       to adequately supervise or control Defendant Helaire-Jones, such that it breached a duty

       owed to Plaintiff. The Plaintiff also alleges that the Board systematically failed to conduct

       background checks, alleging that the Board’s failure to conduct an adequate background

       check resulted in Defendant Helaire-Jones being hired by Legal Prep.

   12. Contrary to these allegations, the Board recommended that Defendant Helaire-Jones not be

       hired by Legal Prep as he had not finished his background check. Despite this

       recommendation, Legal Prep hired Helaire-Jones.

   13. The lawsuit filed by Plaintiff, C.W., as parent and next of friend of Z.R alleges causes of

       action that arose out of the acts or omissions of Legal Prep and its Staff, not the Board’s. As

       such, Legal Prep must indemnify the Board pursuant to Section 14 of the Contract.

       WHEREFORE Defendant, the Board of Education of the City of Chicago, requests that

Legal Prep indemnify the Board for any costs, fees, and/or damages of any kind incurred by it, or

awarded, as a result of Plaintiff’s Claim. The Board prays for such further and other relief as this

Court Deems proper and just.

                  COUNT II – LEGAL PREP – BREACH OF CONTRACT


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14. Count II incorporates the foregoing paragraphs as if fully restated herein.

15. At all relevant times, Defendant Helaire-Jones was an employee of Legal Prep Charter

   Academics (“Legal Prep”) and worked as a basketball coach at Legal Prep in the City of

   Chicago, County of Cook, State of Illinois.

16. At all relevant time, Defendant Helaire-Jones was not an employee of the Board’s.

17. On July 1, 2017, the Board, for a valuable consideration entered into a Contract with Legal

   Prep Charter Academics (“Legal Prep”), which was in effect at all relevant times. See Exhibit

   A.

18. The Contract requires Legal Prep “indemnify, defend and hold harmless the Board, its

   members, officers, employees, agents, affiliates and representatives, past and present,

   (collectively, the “Board Indemnitees”), from and against any and all liabilities, losses,

   penalties, damages and expenses, including costs and attorney fees, arising out of all claims,

   liens, demands, suits, liabilities, injuries (personal or bodily), of every kind, nature and

   character arising or resulting from or occasioned by or in connections with (i) the

   possession, occupancy or use of the property of the Charter School by its faculty, students,

   patrons, employees, guests or agents, (ii) any negligent, willful or wrongful act or omission to

   act by the Charter School, its faculty, students, patrons, employees, guests or agents, (iii) a

   violation of any law, statute, code, ordinance or regulation by the Charter School, its faculty,

   students, patrons, employees, subcontractors, guests or agents, and/or (iv) any breach,

   default, violation or nonperformance by the Charter School of any term, covenant,

   condition, duty or obligation provided in this Agreement including, but not limited to, the

   Accountability Plan.” [Ex. A, p. 33 of 65, § 14].

19. At all relevant times, the Board performed its obligations to Legal Prep under the Contract.

20. On June 20, 2019, Plaintiff, C.W., as parent and next of fried of Z.R., filed this lawsuit


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   against the Board, Legal Prep and Helaire-Jones. It is alleged between August 2017 and

   November 2018, Defendant Helaire-Jones sexually abused student Z.R., and it is alleged the

   conduct occurred on the property of Legal Prep. The Plaintiff further alleges that Cross-

   Defendant, Legal Prep, failed to adequately supervise or control Defendant Helaire-Jones,

   such that it breached a duty owed to Plaintiff. The Plaintiff also alleges that the Board

   systematically failed to conduct background checks, alleging that the Board’s failure to

   conduct an adequate background check resulted in Defendant Helaire-Jones being hired by

   Legal Prep.

21. Contrary to these allegations, the Board recommended that Defendant Helaire-Jones not be

   hired by Legal Prep as he had not finished his background check. Despite this

   recommendation, Legal Prep hired Helaire-Jones.

22. At all relevant times, Defendant Helaire-Jones was the duly authorized agent and employee

   of Legal Prep.

23. The lawsuit filed by Plaintiff, C.W., as parent and next of fried of Z.R alleges causes of

   action that arose out of the acts or omissions of Legal Prep and its Staff, not the Board’s. As

   such, Legal Prep must defend and indemnify the Board.

24. Pursuant to the Contract, on September 5, 2019, the Board tendered the defense of

   Plaintiff’s claim against the Board to Legal Prep. The Board’s tender also requested that

   Legal Prep indemnify the Board for Plaintiff’s claim. See Exhibit B.

25. To date, Legal Prep has refused to accept the Board’s tender of defense and indemnify.

26. As a result, the Board has accrued and continues to accrue costs and fees associated with

   defending this lawsuit.

27. Legal Prep has breached the Contract by failing to indemnify and defend the Board as

   requested in its September 5, 2019, tender letter.


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       WHEREFORE Defendant, the Board of Education of the City of Chicago, requests that it

be awarded all costs, fees, and damages of any kind incurred by it as a result of Plaintiff’s Claim. The

Board prays for such further and other relief as this Court Deems proper and just.



Dated: October 18, 2019                         Respectfully Submitted,

                                                DEFENDANT BOARD OF EDUCATION OF
                                                THE CITY OF CHICAGO

                                                JOSEPH MORIARTY, General Counsel

                                                By:       Kathryn Kohls
                                                          Kathryn Kohls, Attorney No. 6306355

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                                  CERTIFICATE OF SERVICE

        I, Kathryn Kohls, an attorney of record, hereby state that on September 18, 2019, I
electronically filed the above Defendant Board’s Counter-Claim using the Court’s CM/ECF
Filing System, which will send electronic notice to all counsel of record.

Randall Slade
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Chicago, Illinois 60661-2510
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                                                By:       Kathryn Kohls
                                                          Kathryn Kohls, Attorney No. 6306355
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